










Opinion issued April 7, 2005  




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In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00280-CR
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IN RE RICHARD BIHMS, Relator




Original Proceeding on Petition for Writ of Mandamus



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Richard Bihms, filed a pro se petition for writ of mandamus,
complaining that the trial court had not ruled on various pretrial motions that he filed
pro se in cause number 913723.  Since the petition was filed, the trial court dismissed
cause number 913723 on September 8, 2004.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The petition for writ of mandamus is therefore denied as moot.  See In re
Markowitz, 998 S.W.2d 417 (Tex. App.—Waco 1999, orig. proceeding).
PER CURIAM
Panel consists of Justices Taft, Keyes, and Hanks.
Do not publish.  Tex. R. App. P. 47.2(b).


